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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


O.A., et al., on behalf of themselves and all
others similarly situated,

                      Plaintiffs,
         v.                                     Civil Action No. 1:18-cv-02718-RDM


DONALD J. TRUMP, et al.,

                      Defendants.

                  O.A. PLAINTIFFS’ STATEMENT ON RELATED CASES

         The O.A. Plaintiffs make this submission following on the Court’s July 17, 2019 minute

entry directing that Plaintiffs in Capital Area Immigrants’ Rights Coalition, et al. v. Trump, et al.,

No. 19-cv-2117 (the “CAIR Coalition Case”) submit a statement on whether that case is related to

these consolidated cases. The O.A. Plaintiffs agree that the CAIR Coalition Case should be treated

as related to this one pursuant to Local Rule 40.5(a)(3) and agree with the general reasons set forth

in the brief filed by the CAIR Coalition Plaintiffs.

Dated: July 17, 2019                   Respectfully submitted,

                                            /s/ Ellen E. Oberwetter
                                            Thomas G. Hentoff (D.C. Bar No. 438394)
                                            Ana C. Reyes (D.C. Bar No. 477354)
                                            Ellen E. Oberwetter (D.C. Bar No. 480431)
                                            Mary Beth Hickcox-Howard (D.C. Bar No. 1001313)
                                            Charles L. McCloud
                                            Matthew D. Heins (D.C. Bar No. 241063)
                                            Vanessa O. Omoroghomwan*
                                            WILLIAMS & CONNOLLY LLP
                                            725 Twelfth Street, N.W.
                                            Washington, D.C. 20005
                                            Tel: (202) 434-5000
                                            Fax: (202) 434-5029


    Pursuant to LCvR 83.2(g).
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                         Hardy Vieux (D.C. Bar No. 474762)
                         Patricia Stottlemyer (D.C. Bar No. 888252536)
                         HUMAN RIGHTS FIRST
                         805 15th Street, N.W., Suite 900
                         Washington, D.C. 20005
                         Tel: (202) 547-5692
                         Fax: (202) 553-5999

                         Eleni Rebecca Bakst*
                         Anwen Hughes*
                         HUMAN RIGHTS FIRST
                         75 Broad Street, 31st Floor
                         New York, New York 10004
                         Tel: (212) 845-5200
                         Fax: (212) 845-5299

                         Charles George Roth*
                         Keren Hart Zwick (D.D.C. Bar No. IL0055)
                         Gianna Borroto*
                         Ruben Loyo*
                         NATIONAL IMMIGRANT JUSTICE CENTER
                         208 S. LaSalle Street, Suite 1300
                         Chicago, Illinois 60604
                         Tel: (312) 660-1370
                         Fax: (312) 660-1505

                         Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2019, I caused to be electronically filed the foregoing

document with the Clerk of the Court for the United States District Court for the District of

Columbia using the CM/ECF system. Counsel in this case are registered CM/ECF users and

service will be accomplished by the CM/ECF system.


                                             /s/ Ellen E. Oberwetter
                                             Ellen E. Oberwetter (D.C. Bar No. 480431)
